         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR30


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )           ORDER
                                        )
                                        )
BILLY JOE SANDERS                       )
                                        )


     THIS MATTER is before the Court on the Government's amended

motion to reduce Defendant's sentence pursuant to Rule 35 of the Federal

Rules of Criminal Procedure.

     For the reasons stated therein,

     IT IS, THEREFORE, ORDERED that the Government's motion is

ALLOWED, and the Defendant's sentence is hereby reduced from a term

of 125 months imprisonment to a term of 80 months imprisonment, with all

other terms and conditions of the Judgment of Conviction to remain in full

force and effect. The Clerk of Court shall prepare an amended Judgment

in accordance with the terms herein.




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     The Clerk is directed to transmit this Order electronically to the

United States Attorney, defense counsel, the United States Marshal, the

United States Probation Office, and to the Warden of the federal

correctional facility where the Defendant is currently imprisoned; a copy

shall be mailed to the Defendant.

                                      Signed: March 19, 2008




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